Case 2:12-cv-05058-ODW-JEM Document 132 Filed 11/08/13 Page 1 of 5 Page ID #:3268




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Case 2:12-cv-05058-ODW-JEM Document 132 Filed 11/08/13 Page 2 of 5 Page ID #:3269
Case 2:12-cv-05058-ODW-JEM Document 132 Filed 11/08/13 Page 3 of 5 Page ID #:3270
Case 2:12-cv-05058-ODW-JEM Document 132 Filed 11/08/13 Page 4 of 5 Page ID #:3271
Case 2:12-cv-05058-ODW-JEM Document 132 Filed 11/08/13 Page 5 of 5 Page ID #:3272




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